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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


    In re:                                                      Chapter 11

    RED RIVER TALC LLC,1                                        Case No. 24-90505 (CML)

                       Debtor.


             DEBTOR’S STATEMENT REGARDING FILING OF CHAPTER 11 CASE

             In this chapter 11 case, Red River Talc LLC (the “Debtor”) 2 seeks confirmation of a

consensual prepackaged plan of reorganization, as recently amended (the “Amended Plan”), that

is supported by over 83% of the claimants.3 The solicitation establishes that the Amended Plan

has the requisite statutory support of the current claimants (over 75%); the Amended Plan also

has the support of the plaintiff firms that represent the accepting current claimants as well as the

support of the representative proposed to serve as the Court-appointed fiduciary for future




1
             The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
2
             The Debtor is an indirect subsidiary of Johnson & Johnson (“J&J”). Its immediate predecessors are LLT
             Management LLC (“LLT”), f/k/a LTL Management LLC, and Johnson & Johnson Holdco (NA) Inc.
             (“Holdco”). References to the Debtor herein include, as applicable, the Debtor and these immediate
             predecessors. LLT filed two previous bankruptcy cases that were dismissed by the United States
             Bankruptcy Court for the District of New Jersey.
3
             The Debtor has filed the Amended Plan, titled the Amended Prepackaged Chapter 11 Plan of
             Reorganization of the Debtor, and the Disclosure Statement for Prepackaged Chapter 11 Plan of
             Reorganization of the Debtor (the “Disclosure Statement”) contemporaneously herewith. Capitalized terms
             used but not defined herein have the meanings given to them in the Amended Plan. A comprehensive
             description of the Debtor, its history, its assets and liabilities and the events leading to the commencement
             of the chapter 11 case can be found in the Disclosure Statement and in the declaration of John K. Kim
             (the “Kim First Day Declaration”).
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claimants (the “FCR”).4 The Debtor respectfully submits that the Amended Plan should be

confirmed.

       The overwhelming support for the Amended Plan affirms the representations of counsel

for the substantial majority of claimants, who have consistently voiced their and their clients’

support for a consensual bankruptcy resolution first proposed by LLT in its second bankruptcy

filing in April 2023. Although that case was dismissed, the then-presiding bankruptcy judge

lauded the “remarkable progress” the parties had made toward a “viable global settlement” that is

“fair, efficient and expeditious,” and “strongly encouraged” the parties to continue to “pursue a

global resolution” through a chapter 11 plan “in a context other than this current bankruptcy

case.” That is exactly what the parties did. The terms of the Amended Plan are the result of

extensive negotiations among those counsel; counsel that previously opposed the initial proposed

plan of reorganization (the “Initial Plan”); the FCR; and representatives of the Debtor and J&J.

Together, these parties have reached agreement on a plan of reorganization that will fairly,

equitably and promptly satisfy talc claims in full.

       The substantial support for the Amended Plan has been achieved notwithstanding the all-

out, multi-front attack launched by a limited number of economically-conflicted plaintiff firms,

led by Beasley Allen Law Firm (“Beasley Allen”); an attack designed to subvert the vote and

thwart any consensual bankruptcy resolution. These firms maintain leadership positions in the

pending talc multi-district litigation (the “MDL”) and, in those roles, stand to recover for

themselves (but not their clients) up to 12% of the aggregate amount of any resolution in the

MDL. While benefitting the firms, that levy on any resolution through the MDL would reduce



4
       The FCR continues to support the Amended Plan, with the understanding that the FCR has not approved
       the Confidential Memorandum of Understanding & Agreement Regarding Talc Bankruptcy Plan Support
       between J&J, the Debtor, and The Smith Law Firm PLLC.



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the recovery for the claimants; hence the conflict. Beasley Allen―and in particular its partner

Andy Birchfield―has been the most vocal opponent of any resolution in bankruptcy, steadfastly

maintaining that Beasley Allen would not support any bankruptcy resolution regardless of its

terms, the level of support received from the claimants and their law firms, or the strong

encouragement to reach a chapter 11 resolution expressed by the bankruptcy judge who oversaw

LLT’s prior chapter 11 cases.

       At the end of the solicitation period for the Initial Plan, these objecting firms asked the

Debtor to delay its bankruptcy filing to afford the parties additional time to negotiate a resolution

of the firms’ ongoing objections. The Debtor agreed, and over the course of the succeeding

weeks, the Debtor and J&J made a series of offers proposing to contribute significant

incremental consideration to reach an accord. Every offer was rejected, however, and the

impasse between the parties continued.

       The Smith Law Firm (the “Smith Firm”) then approached the Debtor and J&J. The

Smith Firm had brought the first talc trial against the Company in 2013 and had, as part of the

opposition group led by Beasley Allen, actively opposed LLT’s prior bankruptcy proposals. The

Smith Firm advised that it represented, through a joint venture agreement with Beasley Allen,

approximately 11,000 claimants, almost all of whose claims had been listed as “no” votes in a

master ballot submitted by Beasley Allen. Although Birchfield certified in that master ballot that

he was submitting the claimants’ votes based on their “informed consent,” the Smith Firm

disclosed to the Debtor and J&J that Birchfield had not obtained such consent, a fact Birchfield

had conceded to Allen Smith of the Smith Firm. Moreover, the list of claimants for whom

Birchfield submitted “no” votes based on a certification of alleged “informed consent” included

claimants who were represented by another law firm. These claimants have since signed




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declarations attesting that they had no recollection of ever having been contacted by Beasley

Allen, that they had no recollection of ever having been asked by Beasley Allen how they wanted

to vote and that they had, in fact, voted to accept the Initial Plan. Beasley Allen’s master ballot

was invalid.

       The Debtor and J&J thereafter engaged in extensive negotiations with the Smith Firm to

resolve the firm’s objections to the Initial Plan. Following these negotiations, an agreement was

reached with the Smith Firm that afforded substantial incremental consideration for the

claimants. This agreement was then memorialized in a Confidential Memorandum of

Understanding & Agreement Regarding Talc Bankruptcy Plan Support. Among other things, the

agreement provides, subject to specified terms and conditions, that:

           •    The Debtor will pay an additional $1.1 billion under the Amended Plan to a trust
                (the “Talc Personal Injury Trust”) to fund talc claims subject to the individual
                review process described in the Trust Distribution Procedures;

           •    J&J will contribute $650 million outside the Amended Plan into a qualified
                settlement fund (the “QSF”) for use in resolving any common benefit fund claims
                arising from the MDL, which, if determined to apply to a bankruptcy resolution,
                would have been charged against claimant recoveries; and

           •    To expedite payments to claimants, the Amended Plan will become effective, and
                the funding of and payments by the Talc Personal Injury Trust will begin, even if
                an appeal to the United States Supreme Court has been sought and remains
                pending.

       As a result of this agreement, the substantial majority of the clients jointly represented by

the Smith Firm and Beasley Allen have now voted to accept the Amended Plan.5 Although

Beasley Allen and other MDL leadership firms participated in these negotiations as well, they

declined to accept the resolution to which the Smith Firm agreed and continue to oppose the



5
       It is important to note that the prior purported “no” votes of these claimants (included in the Beasley Allen
       master ballot), unlike the votes submitted by the Smith Firm, were submitted before agreement was reached
       on the terms of the Amended Plan.



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Amended Plan even as amended by this resolution with the Smith Firm.6 At this point, it is not

clear who, if anyone, Beasley Allen represents given that virtually all its clients have now voted

to accept the Amended Plan.

       The extensive support for the Amended Plan extends beyond the terms of the plan itself.

It also includes support for the prepetition restructuring of LLT, implemented through a Texas

divisional merger, which resulted in the formation of the Debtor. And it includes support for

filing this case in Texas. Both the details of the restructuring and the Debtor’s intention to file

this chapter 11 case in Texas were described in the Disclosure Statement the Debtor sent to

claimants as part of the solicitation process.

       During the prior bankruptcies of LLT, it became clear that ovarian and gynecological

cancer claimants desired a resolution of their claims in bankruptcy that would result in the

establishment of a trust to promptly and cost-effectively pay their claims, while other claimants,

including mesothelioma claimants and governmental entities, preferred to litigate or otherwise

resolve their claims in other forums. To address these differing points of view and alleviate the

ovarian and gynecological cancer claimants’ concern that the Amended Plan could be

jeopardized or delayed by opposition from claimants who opposed a bankruptcy resolution, LLT

engaged in a divisional merger, the primary purpose of which was to separate the liability for

ovarian and gynecological cancer claims from other talc-related claims. This was accomplished

by allocating all ovarian and gynecological cancer claims to the Debtor, and allocating

mesothelioma, governmental unit and certain other claims to another newly created entity. As a

result of this restructuring, claimant groups that wished to pursue their claims outside of




6
       Because the agreement on the Amended Plan was reached relatively recently, it is possible that other
       plaintiff firms, including MDL leadership firms, and their clients will now support the Amended Plan.



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bankruptcy could continue to do so, while ovarian and gynecological cancer claimants, who

overwhelmingly support the Amended Plan, could pursue a resolution of their claims through

this chapter 11 case.

        With respect to the filing of this case in this Court, LLT was heavily criticized for

changing its domicile from Texas to a different state after having been formed as a Texas entity

pursuant to a Texas divisional merger. Here, the Debtor, which was likewise created by a Texas

divisional merger, has made no changes in its domicile; it started as, and has always been, a

Texas entity. Second, the Third Circuit and the bankruptcy judge who presided over the prior

bankruptcy cases both recognized, in their opinions dismissing the prior bankruptcy cases, that a

bankruptcy resolution of claims could still be achieved in a different setting. In the view of the

Debtor, which is supported by the acceptances of the Amended Plan by the substantial majority

of claimants and the FCR’s approval of the Amended Plan, this Court represents that appropriate,

different setting.

        The Amended Plan proposes to establish the Talc Personal Injury Trust to process and

pay “Channeled Talc Personal Injury Claims,” which generally include all claims and demands

asserted against the Debtor, J&J or any other Protected Party alleging injury from ovarian cancer

and other gynecological cancers.7 The Talc Personal Injury Trust will be funded by a stream of

payments in the aggregate amount of approximately $9 billion payable over 25 years.

        This proposed level of funding for the Amended Plan constitutes one of the largest

settlements ever reached in a mass tort bankruptcy case, including cases where, unlike here, the



7
        The Amended Plan does not resolve and will not affect: (i) claims and demands alleging injury from
        mesothelioma or lung cancer; (ii) claims and demands of governmental entities; and (iii) Canadian claims
        and demands. All holders of claims against the Debtor other than Channeled Talc Personal Injury Claims
        will be unimpaired by the Amended Plan because the Amended Plan does not modify their legal, equitable,
        or contractual rights, other than by curing defaults and reinstating maturities.



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alleged liability was not disputed by the debtor. Although the Debtor and J&J are committed to

the Amended Plan and to funding the Talc Personal Injury Trust, they continue to believe that

talc claims against them have no valid scientific basis. Among other things, JOHNSON’S®

Baby Powder and Shower to Shower never contained asbestos, and the safety of cosmetic-grade

talc has been confirmed by dozens of peer-reviewed studies and multiple regulatory and

scientific bodies for decades. Nevertheless, the Debtor and J&J have been inundated with tens of

thousands of talc claims, subject to unpredictable and wildly divergent compensatory and

punitive damage awards, and burdened by substantial and increasing defense costs.

       Indeed, the cost of defending and paying talc claims, by itself, caused the income of the

former Johnson & Johnson Consumer, Inc. (“JJCI”), the Debtor’s predecessor that at the time

had responsibility for all talc claims, to swing from a $2.1 billion profit in 2019 to a $1.1 billion

loss in 2020. The adverse financial impact of the talc litigation would have established the good

faith basis of a JJCI bankruptcy filing, under any applicable dismissal standard, as early as 2021.

Despite this financial impact, to prepare for a consensual bankruptcy resolution, JJCI first

implemented a divisional merger that resulted in the talc claimants having access to more assets

than would have been available if JJCI had filed for bankruptcy.

       Absent a chapter 11 resolution, the talc litigation would continue for decades, at great

expense to the Debtor but with no benefit to claimants. In that regard, in the decades that the

ovarian cancer talc claims have been pending, the Debtor, its predecessors, and J&J have

suffered only one adverse ovarian cancer verdict that was not overturned on appeal; in every

other case that proceeded to trial, the plaintiff received nothing. In contrast, the Amended Plan

assures claimants an efficient, equitable and certain pathway to promptly resolve their claims and

receive a recovery. At the same time, consummation of the Amended Plan would permit the




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Debtor and J&J to focus their attention on their businesses, enabling them to continue

developing, manufacturing and distributing lifesaving therapies and devices. As further

described in the Kim First Day Declaration, J&J is a global innovator and leader in public health

and has been at the forefront of healthcare innovation for over 130 years. Only through

bankruptcy can the claimants and the Debtor achieve a permanent resolution of both the massive

number of current ovarian and gynecological cancer claims as well as all projected future claims

in a manner that not only is fair and equitable to all parties but, importantly, involved extensive

negotiations with, and review and approval by, representatives of the claimants.

       To ensure the fair and equitable resolution of claims, the Amended Plan includes the

Trust Distribution Procedures that set forth in detail the methodology for processing and

evaluating claims. These procedures use characteristics relevant to the valuation of similar talc

claims in the tort system and were the product of extensive, arm’s-length negotiations with

claimant representatives. Unlike the results claimants have experienced in the tort system,

holders of the Channeled Talc Personal Injury Claims that meet the requisite criteria under the

Trust Distribution Procedures would receive substantial recoveries from the Talc Personal Injury

Trust. Based on available data as well as information provided by plaintiffs’ counsel, the Debtor

anticipates that holders of pending ovarian cancer claims that qualify for payment under the Trust

Distribution Procedures would receive an average recovery of between $50,000 and $250,000,

with the more likely average value being between $75,000 and $175,000. In stark contrast, in

the 17 ovarian cancer trials that proceeded to verdict against the Debtor and J&J in the tort

system, plaintiffs prevailed in only one; all the other claimants received nothing. And, at the rate

at which the cases have been tried to date, it would take decades to try just the pending ovarian

cases, depriving most claimants of even the opportunity to obtain a recovery.




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       Claimant recoveries under the Trust Distribution Procedures are likewise projected to

exceed settlements the Debtor and J&J paid to claimants prepetition. The historical per claimant

recovery net of administrative costs for ovarian cancer under prepetition settlements with the

Debtor and J&J was $50,000 to $80,000. In sum, the Amended Plan’s proposed treatment of the

Channeled Talc Personal Injury Claims would satisfy such claims in full and provide prompt,

certain and more substantial recoveries than claimants could achieve through continued litigation

in the tort system. As evidenced by the vote, the vast majority of claimants agree.

       At the same time the Debtor and J&J were negotiating the terms of the Amended Plan

with plaintiffs’ counsel and the FCR, the Debtor and J&J engaged in negotiations with their

former talc suppliers, Imerys and Cyprus, both of which are debtors in pending chapter 11

proceedings in the District of Delaware (Judge Silverstein), and the Court-appointed claimant

representatives in those cases. These negotiations sought to resolve, among other things, talc-

related claims Imerys and Cyprus were asserting against the Debtor and J&J, including

indemnity claims as well as extra contractual claims for breach of those purported indemnities,

and indemnity claims the Debtor and J&J were asserting against Imerys and Cyprus. All these

claims were the subject of adversary proceedings commenced in the Imerys/Cyprus bankruptcy

cases. After months of hard-fought negotiations, a settlement was reached with the debtors and

the claimant representatives, subject to bankruptcy court approval. A motion has been filed with

the Delaware bankruptcy court, and a hearing on the motion is scheduled for September 25,

2024. If approved and consummated, the settlement is expected to increase recoveries to holders

of the Channeled Talc Personal Injury Claims. Moreover, the settlement has cleared a path for

Imerys and Cyprus to confirm a plan and emerge from bankruptcy after more than five years. In




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that regard, a hearing on the disclosure statement is now set for October 28, 2024 and the

confirmation hearing is set for March 17-19, 2025.

       Despite the Amended Plan’s myriad benefits for all claimants, the small consortium of

ovarian cancer claimant counsel, led by Beasley Allen, continues to oppose any bankruptcy

resolution of the talc claims. These firms and, in particular, Beasley Allen have employed a

variety of “scorched earth” tactics to derail a consensual bankruptcy resolution since the first

bankruptcy filing, including misleading media blitzes, frivolous lawsuits, and repeated

mischaracterizations of the terms of the Initial Plan. They have done so notwithstanding that

none of these firms has ever secured any recovery for their clients outside of bankruptcy, either

through a successful verdict or by settlement. Although the rationale for these actions is unclear,

these firms have their own financial interests, which are potentially substantial.

       Birchfield testified in a deposition taken in LLT’s chapter 11 case filed in 2023 that, if the

LLT bankruptcy resolution went forward, the MDL steering committee, of which Beasley Allen

is a member, stood to lose the ability to control a share of the trust funding through the MDL

common benefit fund.8 Pursuant to the MDL’s case management order, 8% to 12% of gross talc

settlement amounts for clients of participating counsel must be deposited into the common

benefit fund, and that money is then to be allocated to the firms that performed common benefit

work. See Case Management Order No. 7(A), MDL No. 16-02738 [Dkt 14741]. As a result,

with respect to the approximately $9 billion proposed trust funding in the Amended Plan,

Beasley Allen could lose its share of hundreds of millions of dollars that would go into the

common benefit fund if the money were part of a settlement in the MDL.9 And these common



8
       See Birchfield Dep. at 18:8-25, 2023 Chapter 11 Case.
9
       Birchfield Dep. at 21:7-13.



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benefit fund payments would be on top of the 40% contingency fee the firm charges to its clients

directly.10

        As described above, J&J has agreed, under certain circumstances, to fund $650 million

into a QSF for use in paying common benefit fund amounts that, if determined to apply to the

settlement memorialized in the Amended Plan, would be charged against claimant recoveries.

Although this commitment by J&J eliminates the risk that these firms will not receive any

common benefit fees as a result of the claimants’ desire to resolve their claims through this

bankruptcy case, the firms still have the potential of earning even larger common benefit fees (up

to 12% of approximately $9 billion) if a settlement of the magnitude reflected in the Amended

Plan were achieved in the MDL.11

        As part of their efforts to derail the Initial Plan, this group of firms filed a frivolous

fraudulent conveyance class action in the United States District Court for the District of New

Jersey seeking to avoid two transactions that occurred years earlier in connection with LLT’s

earlier bankruptcy filings plus an unrelated corporate transaction. Weeks later, they filed an

emergency motion for a preliminary injunction seeking, among other things, to prevent the

Debtor from filing for bankruptcy outside of New Jersey, relief that was completely untethered to

the causes of action and prayers for relief in the complaint. The District Court denied the

motion, and the Third Circuit denied a motion for stay pending appeal, which sought the exact

same injunctive relief.




10
        Birchfield Dep. at 28:9-11.
11
        A settlement resolving all current and future claims cannot be achieved in the MDL, where common benefit
        fees would ordinarily be payable, or otherwise outside of bankruptcy due to, among other things, the
        alleged long latency period of ovarian cancer and the unknown―and unascertainable―identities of future
        claimants.



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       These same counsel also spearheaded a public smear campaign designed to deprive the

talc claimants of the opportunity to determine for themselves whether to accept the prepackaged

plan. This campaign has relied on both direct media blitzes in opposition to the plan, as well as

negative “headlines” manufactured by these firms based on their own aggressive litigation

tactics. This two-pronged approach has allowed Beasley Allen and others to continuously push

an anti-plan narrative throughout the solicitation process.

       When these firms filed the fraudulent transfer class action complaint, they immediately

broadcast the complaint to the public through their press releases.12 When, three weeks after

that, the firms sought the preliminary injunction that would enjoin LLT or the Debtor from filing

for bankruptcy in any district other than New Jersey, the firms once again immediately broadcast

these efforts, all of which occurred during the solicitation period.13

       On July 22, 2024, just four days before the voting deadline, these opposing firms issued a

press release urging claimants to vote “no” on the plan.14 The press release featured a variety of

inaccurate or unsubstantiated assertions, including that certain opposing law firms believed

“there is an ongoing effort to attract approvals for J&J’s third attempt at bankruptcy from those

without a documented and diagnosed claim of ovarian cancer.”15 The press release further

insinuated that J&J was submitting the allegedly false claims. Id. (“J&J is aware that the



12
       See, e.g., Press Release, Plaintiffs in J&J Talc Cancer Litigation File Class Action Complaint for
       Fraudulent Conveyance (May 22, 2024), available at https://levinlaw.com/newsroom/talc-cancer-plaintiffs-
       file-class-action-complaintagainst-johnson-and-johnson-for-fraudulent-conveyance.
13
       See, e.g., Bailey Glasser Press Release, Motion for Temporary Restraining Order Filed in Lawsuit Against
       Johnson & Johnson (June 12, 2024), available at https://www.baileyglasser.com/news-motion-for-
       temporary-restraining-order-filedin-suit-against-johnson-and-johnson.
14
       See, e.g., Press Release, Lawyers for Ovarian Cancer Victims Urge NO Vote on J&J’s Latest Bankruptcy
       Plan (July 22, 2024), available at https://app.reorg.com/print/wires-
       multi/669e81c6cccc41ff2e8b4dbb/DESC.
15
       Ironically, Beasley Allen submitted “no” votes on behalf of about 5,000 individuals who do not claim to
       have ovarian cancer, the largest voting block of non-ovarian cancer claimants submitted by any firm.



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thousands of fantasy cases they are submitting to bankruptcy make it almost impossible for

actual injured clients to recover.”). The press release cited no evidence to support this bold

assertion. This release also blatantly, and incorrectly, claimed that the plan “take[s] away all

rights to a jury trial,” which is belied by the fact that the Trust Distribution Procedures expressly

provide for jury trial opt-out rights. See Trust Distribution Procedures § 6.1.3. Finally, the press

release asserted that this chapter 11 case was a “scheme with direct parallels” to Purdue,

completely ignoring the asbestos and section 524(g) overlay that distinguishes this case and the

Amended Plan from Purdue as well as the fact that the Amended Plan satisfies Channeled Talc

Personal Injury Claims in full. All these statements are clearly debunked by even a cursory

review of the plan and solicitation materials but were nevertheless pushed out to the public by

Beasley Allen and other members of its opposition group to needlessly stoke suspicion and

confusion among claimants as the voting deadline approached.

       And this self-interested, unjustified opposition continued through and was manifested in

the submission of false voting certifications. Firms in this group, including Beasley Allen,

misrepresented that they received informed consent from their clients to vote “no” when in fact

they had received no such consent. In addition to Birchfield’s apparent admission that he did not

obtain “informed consent” from his clients for their purported “no” votes, there are hundreds of

instances where these firms submitted “no” votes on behalf of individuals who are deceased and

have no appointed estate representative, and also submitted “no” votes that are irreconcilable

with master ballots submitted by other firms and, in some instances, ballots submitted by the

claimants themselves.

       But despite this opposition group’s strident efforts to prevent a consensual bankruptcy

resolution, the Debtor, through extensive, months-long negotiations, including multiple phases of




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mediation, has been able to negotiate and formulate a plan that addresses claimants’ concerns and

demands and provides fair and equitable treatment to all current and future claimants. The

Debtor respectfully submits that the Amended Plan, which is the culmination of months of effort

by the Debtor, J&J and representatives of the claimants, should be confirmed by this Court.

       The Debtor intends to proceed expeditiously in this case so that the Talc Personal Injury

Trust contemplated by the Amended Plan can begin processing and paying claims as soon as

possible. Although the Debtor and J&J fully expect that this small opposing counsel group will

continue its efforts to prevent any bankruptcy resolution, including potentially by moving to

transfer venue and filing a motion to dismiss this case, it is important to note that all aspects of

the process leading up to this filing have been disclosed in the Disclosure Statement, in

negotiations with plaintiffs’ counsel, through public pronouncements, and now in first day filings

with this Court. This information included details on the corporate restructuring that preceded

this filing, the funding arrangements for the Debtor that went into effect upon the filing, and the

Debtor’s intention to commence this case in bankruptcy court in Texas. Plaintiffs’ counsel

representing the substantial majority of current claimants supported each of these steps and even

urged LLT and J&J to take them, and the voting results coupled with the support of the FCR

affirm the widespread claimant support for these and other aspects of the process.

       This bankruptcy case provides the only pathway through which the Debtor, J&J and the

claimants can effectuate the agreement they painstakingly negotiated and memorialized in the

Amended Plan. The Debtor submits that the Amended Plan satisfies all applicable requirements

of the Bankruptcy Code, including section 524(g), and is in the best interests of all parties,

including the claimants alleged to be represented by the opposition group. That the vast majority




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of claimants agree is evidenced by the vote, the support of the plaintiff firms that represent the

claimants who voted to accept the Amended Plan, and the approval of the FCR.

       The Amended Plan should be confirmed.



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Dated: September 20, 2024              Respectfully submitted,
Houston, Texas
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                                       Megan Young-John (TX 24088700)
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                                       PROPOSED ATTORNEYS FOR DEBTOR




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                                      Certificate of Service

               I certify that on September 20, 2024, I caused a copy of the foregoing document
to be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed
by the Debtor’s claims, noticing, and solicitation agent.

                                                      /s/ John F. Higgins
                                                      John F. Higgins




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